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                          UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEW JERSEY


 IN RE: VALEANT PHARMACEUTICALS                        Civil Action No. 15-7658
 INTERNATIONAL, INC. SECURITIES
 LITIGATION                                            JUDGE MICHAEL A. SHIPP
                                                       JUDGE LOIS H. GOODMAN
 _____________________________________
                                                       (ORAL ARGUMENT REQUESTED)
 THIS DOCUMENT RELATES TO:
                                                       Motion Day: April 15, 2019
 18-cv-15286-MAS-LHG (Northwestern
 Mutual Life Insurance Co.)



   REPLY MEMORANDUM OF LAW IN FURTHER SUPPORT OF DEFENDANTS’
            PARTIAL MOTION TO DISMISS THE COMPLAINT

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                                 PRELIMINARY STATEMENT

        Northwestern’s Opposition Brief confirms that the Court should not change course from

 decisions in related cases dismissing state law claims pursuant to SLUSA and also confirms that

 Plaintiffs’ federal claims are untimely, to the extent not covered by a tolling agreement.

        This is the fifth attempt by opt-out plaintiffs—and the fourth by the same counsel—to

 circumvent this Court’s prior decisions dismissing nearly identical state law claims under

 SLUSA.1 Plaintiffs’ arguments fail once again because (1) notes resold under Rule 144A are

 “covered securities” under SLUSA, and, (2) as this Court previously held, the note purchases are

 subject to SLUSA even if the notes were not covered securities because the alleged

 misrepresentations were made “in connection with” covered securities. The Third Circuit’s

 decision in Taksir v. Vanguard Group, on which Plaintiffs rely, is entirely consistent with the

 Court’s prior SLUSA decisions.

        Plaintiffs also acknowledge that their federal claims based on purchases made from

 March 16, 2016 through April 15, 2016 were filed after expiration of the statute of limitations for

 such claims and are not covered by a tolling agreement. Plaintiffs argue these claims are saved

 by American Pipe tolling, but they concede that this District has unanimously rejected the

 application of American Pipe to opt-out cases filed before a decision on class certification.

 Plaintiffs’ argument that a statute of repose runs from the last misdeed alleged rather than from




 1
   See Lord Abbett Inv. Tr.-Lord Abbett Short Duration Income Fund v. Valeant Pharm. Int’l,
 Inc., 2018 WL 3637514, at *9–10 (D.N.J. July 31, 2018); 2012 Dynasty UC LLC v. Valeant
 Pharm. Int’l, Inc., 2018 WL 6492764, at *3 (D.N.J. Dec. 10, 2018); Hound Partners Offshore
 Fund, LP v. Valeant Pharm. Int’l, Inc., 2018 WL 4401731, at *3–5, 5 n.16 (D.N.J. Sept. 14,
 2018); Catalyst Dynamic Alpha Fund v. Valeant Pharm. Int’l, Inc., No. 18-cv-12673, Dkt. No.
 30, at 14–15 (D.N.J. Dec. 4, 2018) (Mem. of Law) (hereinafter “Catalyst Opp.”).
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 each alleged violation is also irreconcilable with Supreme Court precedent and the purposes of

 statutes of repose.

                                            ARGUMENT

 I.     PLAINTIFFS’ STATE LAW CLAIMS ALLEGE A MISREPRESENTATION IN
        CONNECTION WITH THE PURCHASE OF A COVERED SECURITY

        Plaintiffs concede that this is a “covered class action” and that claims arising from the

 purchase of Valeant common stock must be dismissed under this Court’s prior SLUSA rulings.

 Opp. 2 n.1. However, Plaintiffs seek to avoid SLUSA’s application by arguing that Valeant

 notes are not “covered securities” and purchasers of such notes did not purchase them “in

 connection with” a covered security. Plaintiffs are wrong on both fronts.

        A.      Valeant Notes Are Covered Securities Under SLUSA

        In Lord Abbett, the Court concluded that it did not need to reach the issue of whether

 Valeant notes were “covered securities” because, no matter what, Plaintiffs’ allegations of

 misrepresentations were undoubtedly “in connection with” covered securities—namely, Valeant

 common stock. 2018 WL 3637514, at *9–10. As discussed in Section I.B below, that

 conclusion remains correct. In any event, the plain language of SLUSA makes clear that

 Valeant’s notes are covered securities because they are senior to other Valeant securities that are

 listed on the New York Stock Exchange. See Defs. Br. at 7; 15 U.S.C. § 77r(b)(1). Indeed,

 Plaintiffs do not dispute that Valeant notes are senior to its common stock and thus fall within

 that definition of “covered securities.”

        Instead, Plaintiffs argue that Valeant notes are excluded from SLUSA by a provision

 excluding debt securities that are “exempt from registration under the Securities Act of 1933

 pursuant to rules issued by the Commission under section 4[(a)](2) of that Act.” Opp. at 4–5




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 (quoting 15 U.S.C. § 78bb(f)(5)(E)). 2 But this provision does not apply to the Valeant notes at

 issue. By its plain language, the exclusion applies only to debt securities exempt from

 registration under Section 4(a)(2).3 Plaintiffs purchased their notes in resale offerings made

 under Rule 144A, which was promulgated under Section 4(a)(1) of the Securities Act, not

 Section 4(a)(2). SEC Release No. 121, 17 CFR Parts 200 and 230 (Apr. 23, 1990). Plaintiffs’

 argument that the SLUSA exclusion applies more broadly (Opp. at 5) is meritless. Indeed,

 securities law treatises—including the Bloomenthal treatise upon which Plaintiffs rely (Opp. at 4

 n.4)—clarify that SLUSA’s exclusion from the definition of “covered security” “does not appear

 to be applicable to Rule 144A private offerings” because “Rule 144A is not an exemption for the

 issuer and the conceptual basis of Rule 144A is Section 4[(a)](1) of the Securities Act, not

 4[(a)](2).” Bloomenthal & Wolff, 3C Sec. & Fed. Corp. Law § 16:195 (2d ed.). 4 Plaintiffs cite

 no authority applying the Section 4(a)(2) exemption to Rule 144A note offerings.



 2
     Section 4(2) was redesignated Section 4(a)(2) by the JOBS Act.
 3
   Plaintiffs’ attempt to distinguish Luis v. RBC Capital Markets, 2016 WL 6022909, at *6 (D.
 Minn. Oct. 13, 2016), which held that “senior unsecured debt obligations” like the notes here are
 “covered securities,” because it did not involve unregistered notes (Opp. at 5) is off point
 because the relevant question is not whether the notes were unregistered, but whether they were
 exempt from registration under Section 4(a)(2), specifically. Many cases hold that
 “unregistered” securities are “covered securities” under SLUSA. See, e.g., In re Stillwater
 Capital Partners Inc. Litig., 851 F. Supp. 2d 556, 563, 572 (S.D.N.Y. 2012) (holding that
 unregistered shares were “covered securities”). Similarly, this Court’s dismissal of Section
 12(a)(2) claims because securities sold in compliance with Rule 144A are not offered to the
 public has nothing to do with whether the securities are “covered” under SLUSA. See Opp. at 4;
 In re Valeant Pharm. Int’l Inc. Sec. Litig., 2017 WL 1658822, at *15 (D.N.J. Apr. 28, 2017).
 4
   See also 1 Bromberg & Lowenfels on Securities Fraud § 2:207 (2d ed.) (explaining that Rule
 144A offerings are not subject to the SLUSA covered security exemption because “§ 4[(a)](2) is
 not the source of Rule 144A.”); Resales Under Rule 144A and Section “4(1½),” Practical Law
 Practice Note 6-382-8768 (citing 15 U.S.C. § 77r(b)(4)(A) to show that “covered securities
 include the securities of reporting companies sold pursuant to the Section 4(a)(1) registration
 exemption, which includes Rule 144”); Covered Securities, Practical Law Glossary Item 0-612-
 0586 (“[R]eporting company securities sold in Rule 144A offerings are covered securities.”).


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        Because the notes are covered securities, SLUSA compels dismissal of all of Plaintiffs’

 state law claims and no further inquiry is required.

        B.      Plaintiffs Allege Misrepresentations In Connection With Purchases of
                Covered Securities

        Even if the notes are not covered securities (they are), Plaintiffs’ claims are subject to

 dismissal for the same reasons the Court explained in Lord Abbett. The Opposition provides no

 reason to depart from this precedent.

        Plaintiffs argue that they do not allege misrepresentations “in connection with” purchases

 of covered securities because certain Plaintiffs only purchased notes, which they claim are

 “uncovered securities.” Opp. at 1–2. But, in Lord Abbett, one set of plaintiffs similarly

 purchased only notes, and this Court held that regardless of whether the notes were covered

 securities, SLUSA applied because the allegations were “in connection with” trades in Valeant’s

 common stock and thus “the underlying fraud involve[d] a ‘covered’ security, which

 subsequently impacted the price of notes at issue.” 2018 WL 3637514, at *7 n.17, *9. Like in

 Lord Abbett, Plaintiffs allege that Defendants “took advantage of the artificially inflated price of

 [Valeant’s] securities to conduct numerous debt and equity offerings . . . at artificially inflated

 prices.” Compl. ¶ 340. Thus, Plaintiffs’ allege that the “fraud involve[d] a ‘covered’ security,

 which subsequently impacted the price of the notes,” regardless of whether the notes are

 “covered.” 2018 WL 3637514, at *9; see also Defs. Br. at 8–9.

        Plaintiffs do not dispute that Lord Abbett requires dismissal of their claims, but, unhappy

 with that result, argue that Taksir v. Vanguard Group, 903 F.3d 95 (3d. Cir. 2018), changed the

 law. Opp. at 3, 5–6. This is incorrect, and indeed, no party has moved for reconsideration or

 relief from the Lord Abbett decision on the ground of changed law. Taksir addressed whether

 SLUSA “bars investors’ claims that their broker overcharged them [sales commission fees] . . .



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 for the execution of certain securities transactions.” 903 F.3d at 95–96. The Third Circuit

 explicitly distinguished those claims from claims like Plaintiffs’ here, which allege that

 defendants made misrepresentations affecting the price of securities. Id. at 100 (noting that “the

 facts of this case are in plain contrast to [cases concerning] the fraudulent manipulation of stock

 prices”). The Third Circuit held in Taksir that inflated sales commissions did not trigger SLUSA

 because they were not material to the plaintiffs’ decision to purchase securities. Id. Taksir did

 not mention what type of securities were being purchased because whether or not those securities

 were “covered” was simply not an issue in the case.

        Plaintiffs argue that Taksir created a “transaction-based test,” a term coined by Plaintiffs

 (Opp. at 1–3) that is nowhere to be found in that opinion or in any other case interpreting Taksir.

 The Taksir court focused on the “connection between the overcharges and trades at issue,” 903

 F. 3d at 98, and never set forth anything remotely close to the two-part test that Plaintiffs attempt

 to extract from it. Opp. at 10. Instead, the Third Circuit focused on whether inflated sales

 commissions, if considered misrepresentations, were material to an investor’s decision to

 purchase securities from a certain broker. Taksir, 903 F. 3d at 99. Nor did Taksir somehow

 “reject[] the ‘coincide’ test for determining if a claim is ‘in connection with’ a covered security.”

 Opp. at 1. Under that test, set forth in Merrill Lynch, Pierce, Genner & Smith Inc. v. Dabit, 547

 U.S. 71, 85 (2006), “it is enough that the fraud alleged ‘coincide’ with a securities transaction” to

 satisfy SLUSA’s “in connection with” requirement. The Taksir court approvingly cited the

 “coincide test” and emphasized that the Supreme Court “was not modifying [it]” when it decided

 Chadbourne & Parke LLP v. Troice, 571 U.S. 377 (2014). Taksir, 903 F. 3d at 97–98.5



 5
   In Troice, the Supreme Court held that SLUSA requires that the misrepresentation have a
 “material connection with a transaction in a covered security.” 571 U.S. at 387. In Lord Abbett,
 this Court considered the impact of Troice on the “coincide test” and determined that purchasers


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        Plaintiffs’ argument that Taksir limits SLUSA’s application exclusively to the purchase

 of covered securities (Opp. at 9–11) is also irreconcilable with the plain text of SLUSA. Indeed,

 the question is whether Plaintiffs allege “a misrepresentation . . . in connection with the purchase

 or sale of a covered security.” 15 U.S.C. § 78bb(f)(1) (emphasis added). In this case, Plaintiffs

 allege that misrepresentations had a material impact on their decision to purchase securities: they

 purportedly “directly relied on Defendants’ false and misleading statements . . . when deciding

 to purchase Valeant securities.” Compl. ¶ 352. Plaintiffs broadly allege that they purchased

 securities—without differentiating between notes and stock—due to misrepresentations. E.g.,

 Compl. ¶¶ 361, 370. Plaintiffs’ assertion that “[t]he Note Plaintiffs do not claim that they were

 induced into purchasing Valeant’s common stock or any other covered security” (Opp. at 9), is

 contrary to their Complaint.6 Plaintiffs do not (and could not) separate out which

 misrepresentations were in connection with purchases of common stock and which were in

 connection with notes, and the Court is not required to make such an inquiry. See Knopick v.

 UBS Fin. Servs. Inc., 121 F. Supp. 3d 444, 458 & n.17 (E.D. Pa. 2015) (applying SLUSA and

 refusing to “segregate out” uncovered securities from covered securities to circumvent SLUSA

 because the case involved “the sale of a wide variety of investment options, all of which were


 of Valeant notes still alleged misrepresentations “in connection with” purchases of common
 stock. 2018 WL 3637514, at *9 (“Whereas, the plaintiffs in Troice could not link their purchase
 to any ‘transactions in covered securities,’ [] all of Plaintiffs’ claims here originate from
 fraudulent statements that caused Valeant stock to trade at inflated prices.”).
 6
  Plaintiffs assert for the first time in the Opposition that two Plaintiffs purchased only notes
 (Opp. at 1)—facts that are conspicuously absent from the Complaint. “It is axiomatic that the
 complaint may not be amended by the briefs in opposition to a motion to dismiss.” Fimbel v.
 Fimbel Door Corp., 2014 WL 6992004, at *6 (D.N.J. Dec. 10, 2014). But, even if the
 Complaint had alleged that certain Plaintiffs only purchased notes, that would not matter. The
 Complaint asserts that all of Plaintiffs’ investment managers—including the investment
 managers unique to the two Plaintiffs alleged to have purchased only notes—relied on alleged
 misstatements in making “decisions to purchase Valeant securities on behalf of” the note-only
 Plaintiffs. Compl. ¶¶ 361, 370.


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 offered to Plaintiffs, upon the same allegedly false pretense”). Thus, Plaintiffs allege

 misrepresentations “in connection with” trades of “covered securities.”

 II.    THE NON-TOLLED FEDERAL CLAIMS ARE UNTIMELY

        A.      American Pipe Does Not Toll Plaintiffs’ Untimely Claims

        Plaintiffs concede that their federal claims not subject to their tolling agreement with

 certain Defendants may survive only if the Court determines that the statute of limitations has

 been tolled by American Pipe & Constr. Co. v. Utah, 44 U.S. 538 (1974). Opp. at 11. It has not.

                1.      American Pipe Tolling Only Applies To Claims Filed After A
                        Class Certification Decision

        Plaintiffs agree that courts in this District unanimously hold that plaintiffs who opt out

 before a decision on class certification may not invoke American Pipe tolling. Opp. at 14. There

 is no reason to depart from Judges Hillman and Wigenton’s carefully considered decisions. 7

        Grasping for in-circuit case law, Plaintiffs center their argument on Wallach v. Eaton

 Corp. (Opp. at 12–13), where plaintiffs sought to intervene as class representatives because the

 putative class representative was inadequate.8 837 F.3d 356, 363, 371 (3d Cir. 2016). The Third

 Circuit found that such plaintiffs—who did not file a separate action—benefitted from American

 Pipe tolling. Id. at 363, 371–72 (explaining that plaintiffs would be harmed if they could not

 intervene because there was a risk that the named representative lacked standing). Wallach’s

 holding was motivated by a “presumption of timeliness”—not present here—“for intervention



 7
  See Thomas v. Corr. Med. Servs., Inc., 2009 WL 737105, at *4 (D.N.J. Mar. 17, 2009); Smart-
 El v. Corr. Med. Servs., 2008 U.S. Dist. LEXIS 44376, at *9 (D.N.J. June 5, 2008); Hubbard v.
 Corr. Med. Servs., Inc., 2008 WL 2945988, at *7 (D.N.J. July 30, 2008).
 8
   In Catalyst, apparently in recognition of Wallach’s irrelevance to this action, Plaintiffs’ counsel
 mentioned Wallach only in passing. Catalyst Opp. at 7. Plaintiffs’ counsel has abandoned its
 arguments that other Third Circuit decisions support a finding of American Pipe tolling. See id.
 at 7–8 (arguing that Third Circuit decisions not cited in the Opposition weigh in favor of tolling).


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 motions filed by purported class members” and a “general reluctance to dispose of a motion to

 intervene as of right on untimeliness grounds because the would-be intervenor actually may be

 seriously harmed if not allowed to intervene.” 9 Id. at 371–72. This “reluctance” does not apply

 to Plaintiffs, who are not trying to salvage a class action, but instead want to proceed separately.

        The Supreme Court’s recent China Agritech decision offers further support for this

 District’s rule that American Pipe does not extend tolling to plaintiffs who opt out before a class

 certification decision. In China Agritech, Inc. v. Resh, the Court refused to expand American

 Pipe and Crown, Cork beyond their specific holdings, explaining that those cases “addressed

 only putative class members who wish to sue individually after a class-certification denial.”

 138 S. Ct. 1800, 1806 (2018) (emphasis added). Plaintiffs claim that despite this clear language,

 the Supreme Court was not discussing the timing of an opt-out plaintiff’s suit and that “[i]n

 context,” the statement only “concerns what actions are covered.” Opp. at 15 (emphasis in

 original). Additional context, however, confirms the Supreme Court’s intention to reign in the

 scope of American Pipe and Crown, Cork: “Neither decision so much as hints that tolling

 extends to otherwise time-barred claims.” 138 S.Ct. 1806. Discussing American Pipe in light of

 China Agritech, the Third Circuit recently reiterated that “American Pipe is designed to protect

 individual claims filed after the denial of class certification.” Weitzner v. Sanofi Pasteur Inc.,

 909 F.3d 604, 610 (3d Cir. 2018) (emphasis added).




 9
   Plaintiffs argue that Wallach’s holding should be extended to opt-out plaintiffs who file
 separate actions prior to class certification. As support, they argue that Crown, Cork & Seal Co.,
 Inc. v. Parker itself extended American Pipe tolling from its original application to cover opt-out
 plaintiffs, as well. Opp. at 13. But Crown, Cork carefully extended American Pipe only to opt-
 out plaintiffs who file actions after a class certification decision is rendered. 462 U.S. at 353–54.
 In fact, the Supreme Court explained that the American Pipe rule was “designed to avoid”
 “needless multiplicity of actions” by opt-out plaintiffs before class certification. Id. at 351.


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        Moreover, China Agritech confirmed that American Pipe tolling was intended to reduce

 the number of individual suits filed by plaintiffs by allowing them to assess whether to proceed

 independently after a class certification decision is rendered. See 138 S.Ct. at 1806–07

 (“American Pipe tolls the limitation period for individual claims because economy of litigation

 favors delaying those [individual] claims until after a class-certification denial. If certification is

 granted, the claims will proceed as a class and there would be no need for the assertion of any

 claim individually. If certification is denied, only then would it be necessary to pursue claims

 individually.”). Applying American Pipe to suits filed prior to a class certification decision

 would not economize litigation in this way. See, e.g., Thomas, 2009 WL 737105, at *4 (“[A]

 plaintiff who chooses to file an independent action without waiting for a determination on the

 class certification issue may not rely on the American Pipe tolling doctrine.”).10

                2.      The Class Action Did Not Toll Plaintiffs’ Section 18 Claims

        Plaintiffs argue their Section 18 claims were tolled by the Class Action Complaint even

 though it did not include such claims. Opp. at 15–16. The weight of authority expressly rejects

 this overbroad reading of American Pipe. Def’s. Br. at 15 (collecting cases).

        The Third Circuit decisions cited by Plaintiffs (Opp. at 16) do not apply American Pipe

 tolling to claims for violations of statutes not included in an initial complaint. The Third

 Circuit’s application of American Pipe tolling to “substantively identical” claims in Yang v.



 10
    Plaintiffs seek support for their position in the holding in California Public Employees’
 Retirement System v. ANZ Securities Inc. that statutes of repose are not tolled by American Pipe.
 137 S. Ct. 2042, 2053 (2017); Opp. at 13. There is none. The Supreme Court was fully aware
 that claims asserted after class certification is denied could be barred by the statute of repose
 when it decided ANZ. The Court rejected similar arguments to Plaintiffs’, holding that even if
 “dismissal of [a plaintiff’s] individual suit as untimely would eviscerate its ability to opt out,”
 “[i]t does not follow . . . from any privilege to opt out that an ensuing suit can be filed without
 regard to mandatory time limits set by statute.” 137 S. Ct. at 2053.


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 Odom involved a subsequent action bringing claims under the same statutes as the earlier-filed

 class action. Compare 392 F.3d 97, 100, 112 (3d Cir. 2004) with Yang v. Odom, 265 F. supp. 2d

 469, 469 (D.N.J. 2003). Crump v. Passaic Cty. involved federal civil rights violations, not

 securities claims. 147 F. Supp. 3d 249, 261 (D.N.J. 2015). Moreover, the Crump court did not

 hold that the statute of limitations was tolled; it deferred decision for further development of the

 factual record. Id. Courts that have actually resolved the issue have repeatedly held that Section

 18 claims are not tolled by Section 10(b) claims filed in a class action: “Section 18’s actual

 reliance requirement precludes class-action treatment. Therefore, almost by definition, filing a

 § 10(b) class action does not put a defendant on notice that it will be called upon to defend a § 18

 claim.” Child.’s Hosp. & Med. Ctr. Found. of Omaha v. Countrywide Fin. Corp., 2011 WL

 13220509, at *4 (C.D. Cal. Aug. 22, 2011). 11 These decisions are consistent with the Third

 Circuit’s holding in Yang that American Pipe tolling does not apply to claims “inappropriate for

 class treatment.” 392 F.3d at 104.12 Plaintiffs offer no reason to deviate from this precedent.

           B.      The Statute Of Repose Limits Plaintiffs’ Claims

           Plaintiffs concede that statutes of repose are not tolled by American Pipe. Opp. at 13.

 They argue, without support, that the “last culpable act” standard discussed in ANZ means the

 statute of repose runs from the last alleged misstatement contained in the Complaint. Opp. at 12

 n.6. This is contrary to controlling precedent, which Plaintiffs do not address, holding that an




 11
      See also Defs.’ Br. at 15 & n.11 (collecting cases).
 12
    In China Agritech, the Supreme Court abrogated the distinction drawn in Yang between
 denials of class certification due to defects in the class, on the one hand, and deficiencies of the
 class representative, on the other hand, when determining whether American Pipe tolling applied
 to subsequent class actions, holding that subsequently-filed class actions are never tolled. 138
 S.Ct. at 1809 n.5.


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 applicable statute of repose “begins to run on the date of the alleged misrepresentation.” In re

 Exxon Mobil Corp. Sec. Litig., 500 F.3d 189, 200 (3d Cir. 2007); Defs. Br. at 16. 13

                                           CONCLUSION

        For the foregoing reasons, Defendants respectfully request that the Court dismiss Counts

 I, II, III, VII, and VIII of the Complaint in full and Counts IV, V, and VI in part.




 13
   Plaintiffs’ counsel have abandoned their arguments in Catalyst that a continuous scheme
 theory extends the applicable statute of repose. Compare Catalyst Opp. at 12–14, with, Opp. at
 12 n.6.


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